      Case: 1:19-cv-06156 Document #: 4 Filed: 06/24/18 Page 1 of 6 PageID #:33




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

 In Re: National Hockey League                                     MDL No. 14-2551 (SRN/JSM)
 Players’ Concussion Injury
 Litigation



 This Document Relates to ALL ACTIONS                               PRETRIAL ORDER NO. 1
                                                         (Establishing Preliminary Procedures)


       This Order shall govern the practice and procedure in those actions that the Judicial Panel

on Multidistrict Litigation (the “JPML”) transferred to this Court in its Order of August 19, 2014

as well as all related actions originally filed, transferred or removed to this Court. This Order

shall also apply to any “tag-along actions” later filed in, removed to or transferred to this Court.

All such actions shall be referred to in this Order as the “MDL Cases.”

       I. INITIAL CASE MANAGEMENT CONFERENCE

       The Court will hold an Initial Case Management Conference in these MDL Cases on

Thursday, September 18, 2014 at 1:00 p.m. in Courtroom 7B of the Warren E. Burger Federal

Building and United States Courthouse, 316 North Robert Street, St. Paul, Minnesota. All

counsel are expected to appear in person. Attendance at the Initial Case Management

Conference will not act as a waiver of objections to jurisdiction, venue or service of process.

       In preparation for the Initial Case Management Conference and no later than Thursday,

September 11, 2014, the parties shall prepare a submission to the Court (one submission for

Plaintiffs and one submission for the Defendant) which addresses the following issues:

               A. An overview of the procedural status of all actual and potential MDL Cases;

               B. An overview of the status of discovery in all MDL Cases to date;
Case: 1:19-cv-06156 Document #: 4 Filed: 06/24/18 Page 2 of 6 PageID #:34




       C. An overview of the status of any motions, orders or other events of import in

       the MDL Cases to date;

       D. The status of any related state-court litigation;

       E. A proposed case management order which addresses the timing of initial

       disclosures, the timing of fact and expert discovery, the quantity of written

       discovery, the number of proposed fact and expert depositions, a protocol for the

       preservation of, collection of and production of electronic discovery, stipulations

       regarding any matters, and the coordination with state court litigation, if any;

       F. A description of any settlement efforts to date, including any proposals for

       mediation of these matters;

       G. A proposed agenda for the Initial Case Management Conference;

       H. A proposed leadership structure for Plaintiffs’ counsel. Plaintiffs’ counsel’s

       recommendations to the Court shall be accompanied by each nominee’s resume or

       curriculum vitae, educational background, licensing status, a description of

       relevant experience, and a certificate of good standing from the highest Court

       where the individual primarily engages in the practice of law. Each individual

       attorney or law firm recommended for a leadership position shall submit for the

       Court’s in camera review a summary of the billing rates for the individuals who

       expect to participate in these MDL Cases. These in camera materials need not be

       filed on ECF but should be emailed or delivered to the Judge’s chambers no later

       than Thursday, September 11. The appointment of all liaison and lead counsel

       shall be for a term of one year, subject to reappointment by the Court;


                                         2
      Case: 1:19-cv-06156 Document #: 4 Filed: 06/24/18 Page 3 of 6 PageID #:35




                I. Whether a Master Complaint will be filed; and

                J. A schedule of monthly status conferences to be conducted, either in person, or

                telephonically for the remainder of the 2014 calendar year and 2015 calendar

                year. If the parties agree that a given month’s status conference is not necessary,

                they may so stipulate.

        II. CONSOLIDATION

        These MDL Cases are consolidated for pretrial purposes only. Any “tag-along” actions

later filed in, removed to or transferred to this Court, or directly filed in this Court, will

automatically be consolidated with these MDL Cases without the necessity of further motions or

orders. This consolidation, however, does not constitute a determination that these MDL Cases

should be consolidated for trial, nor does it have the effect of making any person or entity a party

to any action in which he, she or it has not been named, served or added in accordance with the

Federal Rules of Civil Procedure.

        III. SERVICE

        Prior to the Initial Case Management Conference, service of all papers relating to the

Conference shall be made on counsel of record appearing in the MDL Cases. The docket is the

official record of the service list. Plaintiffs’ counsel shall designate a liaison, responsible for

assuring service of this Order and all future Orders on any pro se parties. This provision of the

Order does not alter the requirements for proper service of process set forth in the Federal Rules

of Civil Procedure.

        IV. EXTENSION OF TIME; STAY

        The defendant is granted an indefinite extension of time to respond to any pending


                                                   3
         Case: 1:19-cv-06156 Document #: 4 Filed: 06/24/18 Page 4 of 6 PageID #:36




motion or to answer any properly served complaint until this Court sets a date by which the

defendant shall so respond. Pending the Initial Case Management Conference and further orders

of this Court, all outstanding discovery proceedings are hereby stayed. No further discovery

shall be initiated until a comprehensive Case Management Order is entered by this Court.

          V. PRIOR ORDERS

          Any orders, including protective orders and the like, previously entered by this Court or

any Transferor Court, shall remain in full effect unless and until modified by this Court.

          VI. MASTER DOCKET FILE

          Any pleading or paper shall be filed electronically according to this district’s CM/ECF

Civil Manual For New Users.1 The Clerk of Court will maintain a master docket case under the

style “In Re: National Hockey League Players’ Concussion Injury Litigation” and the

identification “MDL No. 14-2551.” When a filing is intended to be applicable to all actions, this

shall be indicated by the words “This Document Relates to ALL ACTIONS” and shall be filed

electronically in 14-md-2551. When a filing is intended to apply to fewer than all cases, this

Court’s civil action number for each individual case to which the document(s) relate shall appear

immediately after the words: “This Document Relates to . . .” and shall be filed electronically in

each member case to which the document(s) applied. The following is a sample of the pleading

style:




          1
              Available at http://www.mnd.uscourts.gov/cmecf/reference_guides.shtml


                                                   4
      Case: 1:19-cv-06156 Document #: 4 Filed: 06/24/18 Page 5 of 6 PageID #:37




 In re: National Hockey League                                     MDL No. 14-2551 (SRN/JSM)
 Players’ Concussion Injury
 Litigation



 This Document Relates to



       VII. FILING

       Any pleading or paper filed in any of the MDL Cases shall be filed electronically with

the Clerk of this Court and not with the Transferor District Court.

       VIII. DOCKETING

       When an action that properly belongs as part of the In re: National Hockey League

Players’ Concussion Injury Litigation is filed in this District of Minnesota or transferred here

from another court, the Clerk of Court shall:

               A.      File a copy of this Order in the separate file for such action, and

               B.      Make an appropriate entry on the master docket sheet.

       IX. APPEARANCES

       Counsel who appeared in a Transferor District Court prior to transfer by the JPML need

not enter an additional appearance before this Court. Attorneys admitted to practice and in good

standing in any United States District Court are admitted pro hac vice in this litigation.

Association of local counsel is not required. Counsel in a newly filed or transferred action shall

complete (1) the Electronic Case Filing System Attorney Registration Form (“Registration




                                                 5
      Case: 1:19-cv-06156 Document #: 4 Filed: 06/24/18 Page 6 of 6 PageID #:38




Form”) , and (2) the Notice of Appearance form.2 After completing the Registration Form,

counsel will receive a CM/ECF log-in enabling them to electronically file the Notice of

Appearance. Counsel appearing in this action are expected to familiarize themselves with all

prior Court orders and proceedings, as well as the Local Rules of the District of Minnesota and

this Court’s Practice Pointers.3

       X. PRESERVATION OF EVIDENCE

       All parties and their counsel are reminded of their duties to preserve evidence that may

be relevant to these MDL Cases and to insure that the appropriate Preservation Orders are in

place. All documents, data and other tangible items containing information potentially relevant

to the subject matter of this litigation shall be preserved.

       XI. COMMUNICATIONS

       Unless otherwise ordered, counsel must communicate with the Court in writing, with

courtesy copies to all counsel. Communications with the Court and submissions which are not to

be filed with the Clerk may be sent to Nelson_Chambers@mnd.uscourts.gov.

       The Court DIRECTS the Clerk to send a copy of this Order to the Clerk of the Judicial

Panel on Multidistrict Litigation, and counsel of record.



Dated: September 4, 2014

                                                        s/Susan Richard Nelson
                                                        SUSAN RICHARD NELSON
                                                        United States District Judge


       2
         Both forms are available at
http://www.mnd.uscourts.gov/FORMS/court_forms.shtml#attorneyforms
       3
           Available at http://www.fedbar.org/image-library/chapters/minnesota-chapter/minn-nelson.pdf

                                                    6
